    Case 1:25-cv-01935-JMF          Document 40        Filed 03/14/25                Page 1 of 5


                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York



                                                     86 Chambers Street, 3rd floor
                                                     New York, New York 10007


                                                     March 14, 2025

BY ECF
The Honorable Jesse M. Furman
Thurgood Marshall Courthouse
40 Centre Street, Room 2202
New York, New York 10007

       Re:     Khalil v. Joyce, et al., 25 Civ. 1935 (JMF)

Dear Judge Furman:

        Pursuant to the Court’s Order (ECF. No. 29), the parties submit this joint letter to
propose next steps, including an expedited schedule for additional motion practice. The
parties were unable to agree on a schedule, accordingly each parties’ proposed schedule is
set forth below.

        Petitioner presently intends to file two additional motions: a motion for bail
seeking his immediate release pursuant to Mapp v. Reno, 241 F.3d 221 (2d Cir 2001), and
a motion for preliminary injunctive relief. As discussed at the March 12 hearing and as
this Court’s order reflects, there is a need for “an expedited schedule” in light of the
extraordinary circumstances presented in this case and the ongoing irreparable harm
Petitioner is experiencing. ECF 29; see also Hearing Tr. 15:10-21. Accordingly,
Petitioner respectfully proposes the following reasonable schedules:

       Petitioner’s bail motion pursuant to Mapp v. Reno

   1. Petitioner files Friday 3/14 by 11:59pm

   2. Respondents file any opposition Monday 3/17 by 5pm

   3. Petitioner files reply Tuesday 3/18 by 11:59pm

       Petitioner’s motion for a preliminary injunction

   1. Petitioner files Monday 3/17 by 5pm

   2. Respondents file any opposition the following Monday 3/24 by 12pm
    Case 1:25-cv-01935-JMF          Document 40        Filed 03/14/25     Page 2 of 5




   3. Petitioner files reply Friday 3/28 by 12pm

        An expedited briefing schedule on Petitioner’s Mapp motion is necessary due to
extraordinary circumstances that require Mr. Khalil’s release in order to make the writ of
habeas corpus effective. If he continues to be detained, he will face severe harm by
possibly missing the birth of his first child and starting immigration proceedings far from
his attorneys in an immigration court in Louisiana due to Respondents’ unlawful conduct
which Petitioner is challenging in this matter. Petitioner disagrees with Respondents’
position that they should not have to address the Mapp claim until after this Court’s
decision on Respondents’ pending Motion to Dismiss or Transfer. Mapp is confined to
truly extraordinary circumstances and this Court has inherent authority to grant bail
pending the adjudication of a habeas claim. S.N.C. v. Sessions, No. 18-CV-7680, 2018
WL 6175902, at *7 (S.D.N.Y. Nov. 26, 2018) (holding the court need not resolve
jurisdictional arguments raised pursuant to Padilla before resolving a Mapp motion).
Respondents have been aware of Petitioner’s Mapp claims since the filing of the original
petition and should be able to move in an expedited manner on this matter.

        Similarly, there is no basis for the two weeks the government is requesting to
respond to Petitioner’s motion for preliminary injunctive relief. Despite this Court’s order
requesting “an expedited schedule,” the government has proposed a schedule permitting
them the maximum time allowed by the local rules, see Local Civil Rule 6.1. To the extent
Petitioner is released prior to the government’s filing in response to the preliminary
injunction, he is willing to amend the schedule.

Respondents’ Proposed Schedule

       Mapp v. Reno Motion

        Petitioner intends to file a motion under Mapp v. Reno. Respondents submit that
briefing on that motion should await the Court’s decision on Respondents’ pending Motion
to Dismiss or Transfer. The pending motion will be fully submitted on Monday, March
17, and may obviate the need for this Court to a decide the Mapp motion or, to the extent
this action is transferred to another court, then that court can consider the Mapp motion.
Accordingly, Respondents propose the following schedule:

   1. Petitioner files Friday 3/14 by 11:59pm

   2. Respondents file any opposition by 11:59 p.m. two business days after the Court
      rules on Respondents’ Motion to Dismiss or Transfer or by 11:59pm on Friday,
      March 21, whichever is sooner

   3. Petitioner files reply by 11:59pm one business day after Respondents file their
      opposition.

       Preliminary Injunction Motion

       Petitioner has filed a thirty-three page Amended Petition raising four separate
claims for relief, including constitutional claims and a claim under the Administrative

                                             2
    Case 1:25-cv-01935-JMF          Document 40        Filed 03/14/25     Page 3 of 5




Procedure Act. The Government requires time to research the legal issues presented,
prepare its opposition to the motion for a preliminary injunction, and obtain review of its
papers through several layers at the Department of Justice. Accordingly, we propose the
following briefing schedule for the PI:

   1. Petitioner files Monday 3/17 by 5pm

   2. Respondents file any opposition Monday 3/31 by 5pm

   3. Petitioner files reply Friday 4/4 by 5pm

       We thank the Court for its attention to this matter.


                                                   Respectfully,

                                                   MATTHEW PODOLSKY
                                                   Acting United States Attorney for the
                                                   Southern District of New York
                                                   Attorney for Respondents

                                             By: /s/ Jeffrey S. Oestericher__    _
                                                 JEFFREY S. OESTERICHER
                                                 BRANDON WATERMAN
                                                 Assistant United States Attorneys
                                                 86 Chambers Street, Third Floor
                                                 New York, NY 10007
                                                 Tel.: (212) 637-2695/2743
                                                 E-mail: jeffrey.oestericher@usdoj.gov
                                                          brandon.waterman@usdoj.gov


                                                  YAAKOV M. ROTH
                                                  Acting Assistant Attorney General
                                                  Civil Division




                                             3
Case 1:25-cv-01935-JMF   Document 40    Filed 03/14/25     Page 4 of 5




                                       NEW YORK CIVIL LIBERTIES
                                       UNION FOUNDATION

                                       /s/ Amy Belsher
                                       Amy Belsher
                                       Robert Hodgson
                                       Veronica Salama
                                       Molly Biklen
                                       New York Civil Liberties Union
                                       Foundation
                                       125 Broad Street, 19th Floor
                                       New York, N.Y. 10004
                                       Tel: (212) 607-3300
                                       abelsher@nyclu.org

                                       AMERICAN CIVIL LIBERTIES
                                       UNION FOUNDATION
                                       Omar Jadwat
                                       Noor Zafar
                                       Sidra Mahfooz*
                                       Brian Hauss
                                       Brett Max Kaufman
                                       Esha Bhandari
                                       Vera Eidelman
                                       Tyler Takemoto*
                                       125 Broad Street, Floor 18
                                       New York, NY 10004
                                       ojadwat@aclu.org

                                       *Application for admission pro hac
                                       vice forthcoming

                                       CLEAR PROJECT
                                       MAIN STREET LEGAL
                                       SERVICES, INC.
                                       Ramzi Kassem
                                       Naz Ahmad
                                       Shezza Abboushi Dallal
                                       CUNY School of Law
                                       2 Court Square
                                       Long Island City, NY 11101
                                       (718) 340-4558
                                       ramzi.kassem@law.cuny.edu
                                       naz.ahmad@law.cuny.edu
                                       shezza.dallal@law.cuny.edu


                               4
Case 1:25-cv-01935-JMF   Document 40    Filed 03/14/25   Page 5 of 5




                                       CENTER FOR CONSTITUTIONAL
                                       RIGHTS
                                       Baher Azmy
                                       Samah Sisay
                                       Diala Shamas
                                       666 Broadway, 7th Floor
                                       New York, NY 10012
                                       (212) 614-6436
                                       bazmy@ccrjustice.org
                                       ssisay@ccrjustice.org
                                       dshamas@ccrjustice.org
                                       DRATEL & LEWIS

                                       Amy E. Greer
                                       29 Broadway, Suite 1412
                                       New York, NY 10006
                                       Phone:(212)732-8805
                                       Fax: (212) 571-3792
                                       Email: agreer@dratellewis.com




                               5
